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                                                   _______
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     ___________
                                                                                        MARK D. COHEN
 MICHAEL E. FEHRINGER                                                      Judge, NYS Court of Claims (Ret.)
 KYLE O. WOOD
                                                                          CHRISTOPHER J. PURCELL, P.C.

 BY ECF

 June 10, 2024

 The Honorable Lee G. Dunst
 United States Magistrate Judge, EDNY
 100 Federal Plaza, Courtroom 830
 Central Islip, New York 11722

         Re:     Hasper v. County of Nassau et. al.
                 20cv2349 (RER)(LGD)

 Your Honor:

        As the Court is aware, this office has recently been hired as substitute counsel for plaintiff
 William Hasper in the above-referenced matter. Please accept this correspondence as the parties’ joint
 submission in accordance with the Court’s May 20, 2024, Scheduling Order directing a detailed
 proposal regarding the completion of fact discovery. (see DE 61)

         The parties have once again conferred and discussed the status of discovery and our need to
 seek a reasonable extension. At the outset, plaintiff’s counsel reiterates that we are currently reviewing
 the voluminous files that we just recently received.

         Counsel have discussed proposed deposition dates for the named Nassau County Police
 Officer defendants. To date, a number of non-party witnesses have been examined and the named
 defendants are next in line.
         As currently scheduled, fact depositions are to be completed by September 1, 2024. (see DE
 58). To that end, the County has provided the following dates on which we believe many of the named
 parties can be deposed: July 12, July 19, July 30, August 5, August 6, August 8, August 12, August
 19 and August 20.
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         Nevertheless, considering the minimum of eight named defendants, and the anticipated
 summer vacation season approaching that may hamper the availability of some witnesses, the
 parties believe an extension will be necessary.
        Furthermore, I am currently scheduled to begin a jury trial in the matter of U.S.A. v. George
 Papaioannou (22cr36) before the Honorable Joan M. Azrack on September 9, 2024. This case
 involves complex allegations of stolen goods, wire fraud and money laundering.
        Finally, I am also scheduled to commence a New York State murder trial in the first week
 of November in the matter of People of the State of New York v. Joseph Scalfani in Suffolk County
 Supreme Court.
         It is with this backdrop that the parties believe there is good cause for an extension until
 December 1, 2024, to allow counsel to complete fact depositions. The parties have conferred in good
 faith and share the same priority of moving this case forward as expeditiously as possible.

        Thank you in advance for your consideration of this matter.

 Respectfully submitted,

 Anthony M. La Pinta
 ANTHONY M. LA PINTA


 cc:    All Parties (By ECF)
